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IN THE UNITED STATES DISTRICT COURT Deputy Clerk
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

UNITED STATES OF AMERICA, ex rel
ROBERT JACKSON TYLER, JR.,

Civil Action File No.
Plaintiff and Relator/Plaintiff,

“ 12419-CV-5079

MELINDA ELIZABETH SABADO GREEN,
CHARLES RONALD GREEN, JR.,

BRETT SABADO, FILED UNDER SEAL
ANTHONY MAZZA,
NICCO ROMANOWSKI,
NHS PHARMA, INC.,
NHS PHARMA SALES, INC., JURY TRIAL
FOCUS DME MANAGEMENT, INC., DEMANDED
MAKA-FEKE HOLDINGS, LLC,

UINTAH VENTURES, LLC,

HIVEWARE LLC,

BLACK ROCK OPERATIONS, LIC,

EMPIRE PAIN CENTER HOLDINGS, CLC,
RED ROCK OPERATIONS, LLC,

E.Z LIFE MEDICAL SUPPLY, INC.,

E.Z LIFE HEALTHCARE, INC.,

PRV MEDICAL SUPPLY, INC.,

ZEE & ASSOCIATES, LLC,

NATIONWIDE PRIME MEDICAL SUPPLIES,
LLC,

E & K MEDICAL SUPPLY, LLC,

BALLI MEDICAL EQUIPMENT LLC,
TRUFORM COMPLIANCE, LIC,

SQUARE ONE, LIC,

FOCUS DME BILLING INC, and

NET HEALTHCLAIM SERVICES,

Defenaants. |

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[THIS DOCUMENT IS CONFIDENTIAL AND PRIVILEGED UNDER THE ATTORNEY-
CLIENT PRIVILEGE, THE JOINT PROSECUTION PRIVILEGE, AND THE WORK |
PRODUCT DOCTRINE. THIS DOCUMENT ALSO MAY BE PROTECTED BY COURT |
ORDER. FOR FURTHER INFORMATION, CONTACT RELATOR’S COUNSEL LEE |
‘TART E WALLACE AT 404-814-0465.

COMPLAINT

1. This is an action by the UNITED STATES OF AMERICA, ex rel.,
ROBERT JACKSON TYLER, JR., against Defendants MELINDA ELIZABETH
SABADO GREEN, CHARLES RONALD GREEN, JR., BRETT SABADO,
ANTHONY MAZZA, NiCCO ROMANOWSRE], NHS PHARMA, INC., NHS
PHARMA SALES, INC., FOCUS DME MANAGEMENT, INC., MAKA-FEKE
HOLDINGS, LLC, UINTAH VENTURES, LLC, HTVEWARE LLC, BLACK
ROCK OPERATIONS, LLC, EMPIRE PAIN CENTER HOLDINGS, LLC, RED
ROCK OPERATIONS, LUC, E.Z LIFE MEDICAL SUPPLY, INC., E.Z LIFE
HEALTHCARE, INC., PRV MEDICAL SUPPLY, INC., ZEE & ASSOCIATES,
LLC, NATIONWIDE PRIME MEDICAL SUPPLIES, LLC, E & K MEDICAL
SUPPLY, LLCO, BALLI MEDICAL EQUIPMENT LLC, TRUFORM
COMPLIANCE, LLC, SQUARE ONE, LLC, FOCUS DME BILLING INC.,, and
NET HEALTHCLAIM SERVICES.

Z. Relator Robert Jackson Tyler, Jr, is a crtizen of the United States of

America and resident of Alpharetta, Georgia.
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3.  Inan elaborate scheme to defraud Medicare and other federal! health
programs, Defendants paid and received kickbacks, and provided unnecessary and

unwanted back, leg, arm and shoulder braces to patients around the country.

DEFENDANTS

I, INDIVIDUAL DEFENDANTS.

4, Defendant Melinda Elizabeth Sabado Green resides at 2936
Midsummer Dr., Windermere, FL, 34786. She owns multiple companies, transacts
business, and committed acts proscribed by section 3729 in this jurisdiction. She
may be served at her place of residence and will be subject to the jurisdiction of
this Court.

s. Defendant Charles Ronald Green, Jr., resides at 2936 Midsummer
Dr., Windermere, FL, 34786. He owns multiple companies, transacts business,
and committed acts proscribed by 31 U.S.C. § 3729 in this jurisdiction. He may be
served at his place of residence and will be subject to the jurisdiction of this Court.

6. Defendant Brett Sabado is an individual who resides at 1430 N
Harris Ridge, Atlanta, GA, 84058. In addition to living in this jurisdiction, he

owns tultiple companies, transacts business, and committed acts proscribed by 31
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U.S.C. § 3729 in this jurisdiction. He may be served at his place of residence and
will be subject to the jurisdiction of this Court.

7. Defendant Anthony Mazza ts an individual believed to reside in New
Jersey, but Plaintiff has been unable to locate an address for him. Mavza transacted
business and committed acts proscribed by section 3729 in this jurisdiction. Once
his address is located, Mazza may be served at his place of residence and will be
subject to the jurisdiction of this Court.

8. Defendant Nicco Romanowski resides at 1288 Octavia Ct., Marietta,
GA 30062. The address for Romanowski is given on information and belief. In
addition to living in this jurisdiction, he transacted business and committed acts
proscribed by section 3729 in this yurisdiction. He may be served at his place of
residence and will be subject to the jurisdiction of this Court.

9. Defendants Nicco Romanowski and Mazza run Empire Pain Center
Holdings LLC, a call center in New Jersey that sells fully-completed Medicare
leads to DMEs. Relator is unsure whether the call center is in operation as of this
date.

fl, DEFENDANT HOLDING COMPANIES.

10. Defendant NHS Pharma, Inc., is a California corporation with its

principal olace of business at 508 West Mission, Ste. 202, Escondido, CA, 92025.
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Defendant NHS Pharma, Inc., is subject to the jurisdiction of this Court, as set
forth below. It may be served with process through its registered agent, David
Palmer Tenney, at 508 West Mission, Ste. 202, Escondido, CA, 92025.

11. NHS Pharma, Inc., is a holding company for many of the entities
owned and run by Melinda and Ron Green and Brett Sabado, such as Defendants
PRV Medical Supply, Inc., EZ Life Medical Supply and Zee & Associates, LLC.

{2. According to the company’s website, NHS Pharma “was established
in 1987 by Melinda Green. At that time, Green was a dental hygienist who saw the
need for a more efficient billing system that led to creating her own billing
company. NHS quickly became known as being the first company to offer
electronic billing for dental clients in California. Shortly thereafter, Green
expanded NHS to cover the billing needs for other medical, psychological and
pharmaceutical claims. NHS 1s located in Vista, California and the company
consists of more than 100 employees.”

13. Defendant NHS Pharma Sales, Inc., is a California corporation with
a business address of 508 W Mission Ave., Ste. 202, Escondido, CA 92025,
Defendant NHS Pharma Sales, Inc., is subject to the jurisdiction of this Court, as
set forth below. it may be served with process through tis registered agent, David

Palmer Tenney, at 308 W Mission Ave., Ste. 202, Escondido, CA 92025.
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14. Defendant Focus DME Management Inc., is a California corporation
with a business address of 508 W Mission Ave., Ste. 202, Escondido, CA 92025.
Defendant Focus DME Management Inc., is subject to the jurisdiction of this
Court, as set forth below. It may be served with process through its registered
agent, David Palmer Tenney, at 508 W Mission Ave., Ste. 202, Escondido, CA
92025.

15. Focus DME Management, Inc. is a holding company that Melinda and
Ron Green use to run other businesses within their enterprise. The corporation was
registered with the State of California on 10/18/2018, by Charles Ronald Green.

16. Defendant Maka-Feke Holdings, LLC, is a Utah limited liability
company with a principal office and record address of 2318 E. Mercer Hollow
Cove, Draper, UT 84020. Defendant Maka-Feke Holdings, LLC, 1s subject to the
jurisdiction of this Court, as set forth below. Defendant Maka-Feke Holdings,
LLC, may be served with process through its registered agent, Brett Sabado, at
2318 E. Mercer Hollow Cove, Draper, Utah, 64020.

17, Defendant Uintah Ventures, LLC, is a Utah limited liability

company with an address of 2318 FE Mercer Hollow Cove, Draper, UT 84020.

Defendant Uintah Ventures, LLC, ts subject to the jurisdiction of this Court, as set
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forth below. It may be served with process through its registered agent, Maka-
Feke Holdings, LLC, at 2318 E. Mercer Hollow Cove, Draper, UT, 84020.

18. Defendant HiveWare LLC, is a Georgia limited liability company
with a principal office address of 1176 Franklin Gateway SE, Suite A, Marietta,
GA 30067. Defendant HiveWare LLC, is subject to the jurisdiction of this Court,
as set forth below. It may be served with process through tts registered agent, Brett
Sabado, at 1430 N. Harris Ridge, Atlanta, GA 84058.

19. Defendant Black Reck Operations, LLC, 1s a Georgia limiied
liability company, with a listed business address of 1176 Franklin Gateway,
Marietta, GA, 30067. Defendant Black Rock Operations LLC, is subject to the
jurisdiction of this Court, as set forth below. [t may be served with process through
its registered agent, Brett Sabado, at 1176 Franklin Gateway, Marietta, GA, 30067.

20. Defendant Black Rock Operations, LLC, was registered on 3/26/2019
by Brett Sabado. The company was opened by Brett Sabado and Ronnie Green,
who intend to broker other deals through Black Rock Operations, LLC.

21. Collectively, NHS Pharma, Inc., NHS Pharma Sales, Inc., Focus DME
Management Inc., Maka-Feke Holdings, LLC, Uintah Ventures, LLC, Hive Ware

LLC, and Black Rock Operations, LLC, will be referred to as the “Holding

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Companies.” The individual defendants use the Holding Companies to orchestrate
and run their fraudulent activities, and to avoid detection by Medicare.

il, DEFENDANT CALL CENTERS.

22. Defendant Empire Pain Center Holdings, LLC, is a Delaware
limited liability company. Defendant Empire Pam Center Holdings, LLC, is
subject to the jurisdiction of this Court, as set forth below. It may be served with
process through its registered agent, Legaline Corporate Services Inc., 651 N.
Broad St., Suite 206, Middletown, DE 19709,

23. Empire Pam Center Holdings, LLC, operated a call center that sold
completed leads to DMEs. It was registered with the State of Delaware on October
19, 2017.

24. Relator Tyler is aware that at least one other call center was used in
the scheme described herein. He does not know the names of the other call
center(s}.

25. Collectively, Empire Pain Center Holdings, LLC, and the other call
center or call centers will be referred io as the “Call Centers.”

TV. DEFENDANT PICK PACK,

26. Defendant Red Rock Operations, LILC, is a distribution service, or

“pick pack” operation, located at 1176 Franklin Gateway SE Suite A, Marietta, GA
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30067. Red Rock is a Utah limited lability company, and its registered office
location is 2318 E. Mercer Hollow Cove, Draper, Utah, 84020. Defendant Red
Rock Operations, LLC, is subject to the jurisdiction of this Court, as set forth
below. It may be served with process through its registered agent, Maka-Feke
Holdings, LLC, at 2318 E. Mercer Hollow Cove, Draper, Utah, 84020.

27. Brett Sabado owns and operates Red Rock Operations, LLC.

V.__._ DEFENDANT DURABLE MEDICAL EQUIPMENT PROVIDERS
(“DMEs”).

28. Defendant E.Z Life Medical Supply, Inc., is a California corporation

with a business address at 18149 Ventura Blvd., Tarzana, CA 91356. Defendant
E.Z Life Medical Supply, Inc., is subject to the jurisdiction of this Court, as set
forth below. It may be served with process through its registered agent, David
Palmer Tenney, at 312 S. Juniper St., Ste. 103, Escondido, CA 92025.

29. The initial corporate documents for E.Z Life Medical Supply, Inc.,
were signed by Pat Zadeh, 18149 Ventura Bivd., Tarzana, CA 91356, who may also
be known as Pat Zadeh Obedian. The corporation was initially registered on
11/14/2014, and it continues to show as active on the California corporation rolls.

30. E.Z Life Medical Supply, Inc., is registered with Medicare as a DME
with a provider identification number of 1528465028. Although Pat Zadeh is listed

as president, this entity is owned and operated by Melinda and Ron Green.
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31. Defendant E.Z Life Healthcare, Inc., is a California corporation with
a business address at 18149 Ventura Blvd., Tarzana, CA 91356. Defendant E.Z
Life Healthcare, Inc., is subject to the jurisdiction of this Court, as set forth below.
It may be served with process through its registered agent, Mariana S. Curtis, at
20944 Sherman Way #115, Canoga Park, CA 91303.

32. E.Z Life Healthcare is registered with Medicare as a DME with a
provider identification number of 1730645318. Although Parvaneh Zadeh, is
listed as its CEO, this entity is owned and operated by Melinda and Ron Green.

33. E.Z Life Healthcare, Inc., was registered with the State of California
on 9/24/2018.

34. Defendant PRV Medical Supply, Inc., is a Florida corporation, with a
business address of 350 W. 9" Ave., Ste. 1068, Escondido, CA 92025. Defendant
PRV Medical Supply, Inc., is subject to the jurisdiction of this Court, as set forth
below. It may be served with process through its registered agent, David Palmer
Tenney, at 350 W. 9" Ave., Ste. 106B, Escondido, CA 92025.

35. PRV Medical Supply, Inc., 1s registered with Medicare to provide
durable medical equipment, and has an NPI of 1033629910. Medicare lists the

CEG as Marianna Sadikyan, and the address as 20944 Sherman Way, Ste 116,
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Canoga Park, CA 91303-3633. Although Marianna Sadikyan is listed as the CEO,
this entity is owned and operated by Melinda and Ron Green.

36. PRV Medical Supply, Inc., registered with the State of Florida on
8/14/2017, listing the principal place of business as 2655 Ulmerton Rd., Suite 415,
Clearwater, FL, 33762; listing the mailing address as 20944 Sherman Way, Suite
115, Canoga Park, CA, 91303; and listing the registered agent as MS Curtis, 2655
Ulmerton Rd., Suite 415, Clearwater, FL, 33762. It registered with the State of
California on 12/6/2017, listing the agent as Marianna S. Curtis.

37. Ina 4/19/2019 filing with the Florida Secretary of State, Melinda
Green is listed as President of PRV Medical Supply, Inc., and her address is given
as 350 W. 9" Ave., #106B, Escondido, CA 92025.

38. Defendant Zee & Associates, LUC, is a Texas limited liability
company, with a mailing address of 3303 Harbor Blvd., Ste. D12, Costa Mesa, CA,
92626-1541. Defendant Zee & Associates, LLC, is subject to the jurisdiction of
this Court, as set forth below. it may be served with process through its registered
agent, Ronald C. Green, at 3939 Hillcroft St., Suite 120-A, Houston, TX, 77057.

39. Zee & Associates is registered with Medicare to provide durable

medical equipment, and has an NPI of 1487077087. Medicare lists Ronald Charles

MW
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Green as the president, and gives an address of 3939 Hillcroft St., Ste. 120A,
Houston, TX 77057.

40. Zee & Associates was registered with the Texas Secretary of State on
10/16/2013. The Texas Tax Office lists the Texas taxpayer number as
32052218800, and gives the mailing address as: 3303 Harbor Bivd., Ste. D12,
Costa Mesa, CA, 92626-1541.

41. Defendant Nationwide Prime Medical Supplies, LLC, is a
California limited liability company with a street address of 2575 Pio Pico Dr.,
Suite 100, Carlsbad, CA, 92008. Defendant Nationwide Prime Medical Supplies,
LLC, is subject to the jurisdiction of this Court, as set forth below. It may be
served with process through its registered agent, Legalzoom.com, C2967349, with
an entity address of 101 N. Brand Blvd., 11" Floor, Glendale, GA, 91203.

42. Nationwide Prime Medical Supplies, LLC, is registered with
Medicare as a prosthetic/orthotic supplier with an NPI of 1861927923. Medicare
lists the president as Ms. Arrabelie Gomez.

43. Nationwide Prime Medical Suppites, LLC, registered with the State of
California on 3/21/2017.

44, Defendant E & & Medical Supply LLC, is a New Jersey limited

liability company with a business address at 80 Main St, West Orange, New
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Jersey 07052-5460, or alternatively, at 256 Grant Ave., East Newark, New Jersey
07029-2780. Defendant E & K Medical Supply LLC, is subject to the jurisdiction
of this Court, as set forth below. It may be served with process through its
registered agent, Kimberly Perez at 256 Grant Ave., East Neward, NJ, 07029.

45. E&K is registered with Medicare as a durable medical equipment
provider with an NPI of 1609107283. Medicare lists Kimberly Perez as the owner.

46. E&K Medical bought completed leads from Anthony Mazza and
Nicco Romanowski, and was controlled at least in part by Mazza and
Romanowski. E & K was incorporated on 1/18/2010.

47, Defendant Balli Medical Equipment LLC is a New Jersey limited
liability company with a principal address of 1800 Route 9, Suite 2, Toms River,
NJ, 08755-1284. Defendant Balli Medical Equipment LLC ts subject to the
jurisdiction of this Court, as set forth below. It may be served with process through
its registered agent, Erick Perez at 80 Main St., Ste. 160, West Orange, NJ 070572.

48.  Balli bought compieted leads from Anthony Mazza and Nicco
Romanowski, and wes controlled at least in part by Mazza and Romanowski.

A9. Collectively E.Z Life Medical Supply, Inc., E.Z Life Healthcare, Inc.,
PRV Medical Supply, Inc., Zee & Associates, LLC, Nationwide Prime Medical

Supplies, LLC, E & K Medical Supply LLC, and Balli Medical Equipment LLC
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will be referred to as the “DMEs.” These DMEs bought completed leads from the
Call Centers, and then, based on those leads, submitted charges for braces to

Medicare.

VI. DEFENDANT MEDICAL BILLING COMPANIES.

50. Defendant TruForm Compliance, LLC, is a Utah limited liability
company with a street address of 3408 S 1460 W, West Valley City, Salt Lake
County, UT, 84119. Defendant TruForm Compliance, LLC, is subject to the
jurisdiction of this Court, as set forth below. It may be served with process through
its registered agent, AVP Consulting, LLC, at 50 West Broadway, Ste. 300, Salt
Lake City, UT, 84101.

$1. Defendant TruForm Compliance, LLC, is a billing company. Brett
Sabado is the Managing Partner.

52. Square One, LLC, is a Utah limited lability company with a
company address of 2318 E. Mercer Hollow Cove, Draper, UT 84020. Defendant
Square One, LLC, is subject to the jurisdiction of this Court, as set forth below. It
may be served with process through its registered agent, Maka-Feke Holdings,
LLC, 2318 E. Mercer Hollow Cove, Draper, UT 84020.

53. Medicare will not reimburse a brace if the patient has received a

similar brace within the past tive years. Using proprietary software, Square One,
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LLC, performs “same and similar” checks before DMEs bill Medicare. Square
One, LLC, was registered with the Utah Secretary of State on 7/27/2018.

54, Defendant Focus DME Billing Inc., is a California corporation with a
principal office address of 508 W. Mission Ave., Ste. 202, Escondido, CA 92025.
Defendant Focus DME Billing Inc., is subject to the jurisdiction of this Court, as
set forth below. It may be served with process through its registered agent, David
Palmer Tenney, at 508 W. Mission Ave., Ste. 202, Escondido, CA 92025.

55. Focus DME Billing Inc., was registered with the State of California
on 10/18/2018 by Charles Ronald Green. At its zenith, Focus Billing had 15
employees or contractors.

56. Defendant Net Healthclaim Services is a billmg company owned and
operated by the Greens. The company is not listed under that name with the
California, Georgia or Utah secretaries of state. A third-party website lists Net
Healthclaim Services as being located at 2852 Brookside Dr., Chino Hills, CA
91709, Defendant Net Healthclaim Services ts subject to the jurisdiction of this
Court, as set forth below. It may be served with process through its registered

agent, when that agent is Located.
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57. Collectively, Defendants TruForm Compliance, LLC, Square One,
LLC, Focus DME Billing Inc., and Net Healthclaim Services will be referred to as
the “Billing Companies.”

JURISDICTION AND VENUE

58. This is an action by the United States of America, ex rel. Relator Tyler,
against Defendants to recover damages and civil penalties on behaif of the United
States of America arising from false and/or fraudulent statements, records, and
claims made and caused to be made by Defendanis and/or their agents and
employees in violation of the Federal False Claims Act, 31 U.S.C. § 3729, et seq.,
and the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b).

59. The United States of America is the rea) party in interest to the claims
in this action.

60. Pursuant to 28 U.S.C. §& 1331, Defendants are subject to federal
question jurisdiction in this Court because this action arises under the laws of the
United States, including 31 U.S.C. §§ 3729 and 3730, and other relevant federal
statutes.

61. Additionally, Defendants are subject to jurisdiction and venue in this
Court, where “one defendant can be found, resides, transacts business, or in which

any act proscribed by section 3729 occurred.” 31 U.S.C.A. § 3732(a). Accordingly,
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jurisdiction and venue are appropriate in Georgia because, among other reasons,
Defendants Brett Sabado, Nicco Romanowski, Red Rock Operations, LLC, Black
Rock Operations, LLC, Focus Medical Billing Services, LLC, and HiveWare LLC,
can be found, maintain offices, transact business, and reside in Georgia and in the
Northern District of Georgia. In addition, acts proscribed by § 3729 occurred in the
Northern District of Georgia. Venue furthermore is proper in this District under 28
U.S.C. § 1391.

62. Pursuant to 31 U.S.C. § 3736(e)(4)(B), Relator is an “original source,”
who has direct and independent knowledge of the information upon which this
Complaint is based, and voluntarily provided disclosure of the allegations of this
Complaint to the United States prior to filing.

GOVERNMENT-FUNDED HEALTHCARE PROGRAMS

63. Ina coordinated scheme and conspiracy, the Defendants: (a)
defrauded the United States, Medicare and Medicare patients through a fraudulent
kickback scheme that placed prolit over care; (b) procured prescriptions from
medical providers who had not examined or even spoken to the patients for whom
they were writing prescriptions; (c} billed Medicare for braces that were medically

unnecessary for the patients to whom they were sent; (d) billed Medicare for braces
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that were never requested by patients; and (e) failed to reimburse Medicare for
braces that were returned by patients.

i, THE MEDICARE PROGRAM AND DURABLE MEDICAL
EQUIPMENT.

64. Medicare is a federal health care benefit program, affecting

commerce, that provides benefits to individuals who are 65 years and older or
disabled, Medicare is administered by the Centers for Medicare and Medicaid
Services ("CMS"), a federal agency under the United States Department of Health
and Human Services. Individuals who qualify for Medicare benefits are referred to
as Medicare "beneficiaries." Each beneficiary is given a unique health insurance
claim number ("HICN”).

65. Medicare is a “Pederal health care program" as defined by Title 42,
United States Code, Section 1320a-7b(b), and a “health care benefit program" as
defined by Title 18, United States Code, Section 24(b).

66. Medicare programs covering different types cf benefits are separated
into different program "parts." Medicare Part A covers health services provided by
hospitals, skilled nursing facilities, hospices, and home health agencies. Medicare
Part B covers physician services and outpatient care, including an individual's

access to DME, such as orthotic devices and wheelchairs. Parts A and B were
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known as the "original fee-for-service" Medicare program, in which Medicare paid
health care providers fees for services rendered to beneficiaries.

67. Orthotic devices are a type of DME that includes rigid and semi-rigid
devices such as ankle braces, knee braces, back braces, elbow braces, shoulder
braces, wrist braces, and hand braces (collectively “braces"). Section 1847(a\(2) of
the Social Security Act defines Off-The-Shelf ("OTS") orthotics as those orthotics
described in section 1861(s)(9) of the Act for which payment would otherwise be
made under section 1843(h) of the Act, which require minimal self-adjustment for
appropriate use and do not require expertise in trimming, bending, molding,
assembling, or customizing to fit to the individual. Orthotics that are currently
paid under section 1834(h) of the Act and are described in section 1861(s)(9) of the
Act are leg, arm, back, and neck braces, The Medicare Benefit Policy Manual
(Publication 100-2), Chapter 15, Section 130 provides the longstanding Medicare
definition of "braces." Braces are defined in this section as "rigid or sernirigid
devices which are used for the purpose of supporting a weak or deformed body
member or restricting or eliminating motion in a diseased or injured part of the
body,"

68. DME companies, physicians, and other heaith care providers that

provide services to Medicare beneficiaries that are reimbursed by Medicare are

1%
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referred to as Medicare "providers." To participate in Medicare, providers,
including DME suppliers, are required to submit applications in which the
providers agree to comply with all Medicare-reiated laws and regulations,
including the Anti-Kickback Statute (42 U.S.C. Sec. 1320a-7b(b)}), which
proscribes the offering, payment, solicitation, or receipt of any remuneration to
induce the referral of a patient or the purchase, lease, order, or arrangement
therefor, of any good, facility, service, or ttem for which payment may be made by
a federal health care program. Providers are given access to Medicare manuals and
service bulletins describing procedures, rules, and regulations. If Medicare
approves a provider's application, Medicare assigns the provider a Medicare
"provider number” or “supplier number” which is used for the processing and
payment of claims.

69. In applying for its supplier number, a DME company must sign
certifications, including, among other things: “| understand that payment of a claim
by Medicare is conditioned upon the claim and the underlying transaction
complying with such laws, regulations and program instructions (including, but not
limited to, the Federal anti-kickback statute).”

70, Medicare reimburses DME supoliers and other healthcare providers

for services rendered to beneficiaries. To receive payment from Medicare,
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providers submit or cause the submission of claims to Medicare, either directly or
through a billing company.

71, Most providers submit their claims electronically pursuant to an
agreement they execute with Medicare in which the providers agree that: (a) they
are responsible for all claims submitted to Medicare by themselves, their
employees, and their agents; (b) they will submit claims only on behalf of those
Medicare beneficiaries who have given their written authorization to do so; and (c)
they will submit claims that are accurate, complete, and truthful.

72. To receive rermbursement from Medicare for non-physician items
such as OTS orthotics, a DMEPOS supplier is required to submit a claim, either
electronically or in writing, through Form CMS-1500 or UB-92. A Medicare
claim for DME reimbursement is required to set forth, among other things, the
beneficiary's name and unique Medicare identification number, the equipment
provided to the beneficiary, the date the equipment was provided, the cost of the
equipment, the billing codes for the specified item, and the name and National
Provider Identifier ("NPI") of the attending physician who prescribed or ordered

the equipment.
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73. Acclaim for DME submitted to Medicare qualifies for reimbursement
only if the DME was reasonable and medically necessary to the treatment of the
beneficiary's illness or injury and prescribed by the beneficiary's physician.

74. Medicare regulations required heaith care providers enrolled with
Medicare to maintain complete and accurate patient medical records reflecting the
medical assessment and diagnoses of their patients, as well as records documenting
actual treatment of the patients to whom services were provided and for whom
claims for payment were submitted by the physician. Medicare requires complete
and accurate patient medical records so that Medicare may verify that the services
were provided as described on the claim form. These records were required to be
sufficient to permit Medicare, through its contractors, to review the
appropriateness of Medicare payments made to the health care provider.

I MEDICARE ADVANTAGE (PART ©”).

. Medicare Part C, also known as the "Medicare Advantage" Program,
75. Med Part C, also ki the "Med Advantage" Prog
provides Medicare beneficiaries with the option to receive their Medicare benefits
through private managed care plans, including health maimtenance organizations
("HMOs") and preferred provider organizations ("PPOs"). Medicare Advantage

provides beneficiaries with ali of the same services provided by an original fee-for-
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service Medicare plan, in addition to mandatory supplemental benefits and optional
supplemental benefits.

76. Toreceive Medicare Advantage benefits, a beneficiary is required to
enroll in a managed care plan operated by a private company approved by
Medicare. Those companies are often referred to as Medicare Advantage plan
“sponsors.” A beneficiary's enrollment in a Medicare Advantage plan is voluntary.

77. Rather than reimbursing based on the extent of the services provided,
as CMS does for providers enrolled in origina! fee-for-service Medicare, CMS
rakes fixed, monthly payments to a plan sponsor for each Medicare Advantage
beneficiary enrolled in one of the sponsor's plans, regardless of the services
rendered to the beneficiary that month or the cost of covering the beneficiary's
health benefits that month.

78, Medicare Advantage beneficiaries choose to enroll in a managed care
plan administered by private health insurance companies, which are typically
HMOs or PPOs. A number of entities are contracted by CMS to provide managed
care to Medicare Advantage beneficiaries through various approved plans. Such
plans cover DME and related health care benefits, items, and services. These

Medicare Advantage plans receive, adjudicate, and pay the claima of authorized
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suppliers seeking reimbursements for the cost of DME and related health care
benefits, items, and services supplied to Medicare Advantage beneficiaries.

il, THE ANTI-KICKBACK STATUTE.

79, Congress passed the Anti-Kickback Statute in order to ensure that
patient care would be based on what is best for the patient, not what is most
profitable for the company making, arranging for, or receiving the patient referral.
The Anti-Kickback Statute, Title 42, United States Code, Section 1320a-7b(b),
prohibits knowingly and willfully offering, paying, soliciting, or receiving a
kickback or bribe to induce or reward referrals or the arranging for referrals of
items or services reimbursable by a Federal health care program. The parties on

both sides of the kickback —- giving and receiving -— are civilly and criminally

liable.

ICKBACK QUEEN.”

In 2017, Relator Tyler opened DR Medical along with friend Damon Reed.
The sompany manufactured orthotics such as back, knee and shoulder braces. Rob
Tyler was President of Sales, and Darmon Reed was CEO.

80, To get an influx of capital to grow the business, on June |, 2018, Reed

and Tyler sold controlling interest in theit company to Material Motion, a Decatur,
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Georgia, company that already manufactured an array of products, such as filters,
industrial packaging, and food service products. Reed stayed onboard as
Marketing Manager, and Tyler rernained the President of Sales.

81. On June 25, 2018, DR Medical was introduced to Brett Sabado in a
phone conference. Sabado said that his mother, Melinda Green, ran several DMEs,
and would be interested in buying braces from DR Medical.

82. On July 23 and 24 of 2018, Relator Tyler flew to California and met
with Sabado, Sabado’s mother Melinda Green, ber husband Ron Green, and Ron

Green’s son Ronnie, Tyler quoted prices for several types of orthotic braces.

A. The Greens Begin Ordering from DR Medical,

83. Within weeks, Melinda and Ron Green were ordering thousands of
braces each week for their DME, E.Z Life.

84. Melinda and Ron Green also owned a second DME, called PRV.
About three months after E.Z Life started ordering from DR Medical, the Greens
brought PRV’s business over to DR Medical, tco.

85. PRY was only in business for a total of about 16 months, but its
growth was extraordinary. Before the Greens shut PRV down, it was ordering
20,000 - 25,000 braces a month and making $20 million a year, almost entirely

from Medicare.
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86. Initially DR Medica! shipped its braces in bulk to an Escondido,
California, “pick pack” run by Brett Sabado. Sabado’s company, Red Rock
Operations, LLC, packed the braces into boxes and shipped them to individual
patients. As the cost of shipping the braces to Escondido mounted, Sabado decided
to move his pick pack to Atlanta to save on shipping costs.

&7. Red Rock Operations, LLC, currently operates in Marietta, Georgia,
and it ships durable medical equipment to patients all over the country.

B. Anthony Mazza, Niccu Romanowski and Empire Pain Center,

88. Ron and Melinda Green and Brett Sabado took Damon Reed and
Relator Tyler along on a business trip to New Jersey in the first week of November
2018. The Greens pitched their billing and pick pack services to DME owners
Aaron Williamsky and Nadia Levit, while Keed and Tyler offered pricing for
braces.

89, While they were in Newark, the Greens wanted to stop by te see some
other business contacts. Reed and Tyler tagged along to a meeting with Anthony
Mazza and Nicco Romanowski, wha ran Empire Pain Center in New Jersey.

90. At8p.m. ona Thursday night, the Empire Pain Center office was
pustling, Ar the office, looated on the second floor of a building outside Newark,

dozens of employees were crammed into 4 large, open room. The room was loud,
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because each employee wore headphones, and they were all talking on the phone at
once. Tyler overheard the employees pushing customers to order braces.

91. Mazza and Romanowski siated that they also had physicians “on
board,” although Tyler did not meet any.

92. Later the Greens said they and numerous other DMEs paid Mazza and
Romanowski a hefty price of $500 - $550 per “lead” for Medicare patients who
would order braces.

93. In addition te running the call center, Mazza and Romanowski had
control over numerous DMEs which were ostensibly owned by others. Mazza
referred to these companies as “our DMEs” and said he wanted to get “us” signed
up to buy braces from DR Medical and wanted to discuss pricing for “us.” He
wrote DR Medical, offering business:

I have over 30 DME’s that I can start selling your braces to if we can

put something together.

They average 50-60,000 braces sold monthly. ...

We like to move on opportunities fast and dant do anything on a small

scale,

The 50 DMEs are just one persen we have piiched this to so far.

11/10/2018 email from Mazza to Damon Reed. These DMEs were iust sheli

companies, as Mazza acknowledged when he noted that one person owned 50
&

DMEs.
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94. When DR Medical refused to pay kickbacks to Mazza, the business
never materialized.

95. Separately, the Greens also introduced Damon Reed and Steve
Schneider to Charles Burruss and Ardalan “Armani” Adams, who owned a DME
in California, Ever Prime Concepts, Inc. Burruss and Adams bought leads from

Mazza and Romanowski.

i. DRMEDICAL’S BUSINESS UNRAVELS IN THE AFTERMATH OF
OPERATION BRACE YOURSELF.

96. DR Medical was barely abie to keep inventory in stock. In January,
February and March 2019, DR Medica! shinped hundreds of thousands of braces a
month. To feed the voracious appetite of its growing DME base, DR Medical
borrowed money to buy millions of dollars’ worth of additional braces.

97. In April 2019, however, Rob Tyler got a call from Brett Sabado
explaining that federal authorities had raided Aaron Williamsky’s and Nadia
Levit’s office, as part of nationwide Operation Brace Yourself. Williamsky, Levit
and a host of others were accused of using an offshore call center in the Philippines
to generate leads for DMEs that wanted to supply braces to Medicare patients.
These patients were hooked up with telemedicine doctors who wrote prescriptions
for unnecessary braces without ever even seeing the patients. DMEs paid the call

center to generate these completed prescriptions, which was improper. Later,

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Sabado and Ronnie Green told Tyler that kickbacks (“overrides”) had gone from
the DME to the telemedicine company, and then from the telemedicine company to
the doctor, which also was improper.

98. DR Medical customers Charles Burruss and Armani Adams also were
swept up in the operation. Just weeks earlier, the Greens had convinced Burruss
and Adams to buy the Greens’ suite of services and to buy braces from DR
Medical. Burruss and Adams had wired $986,000 into an account to fund orders
of braces. At the time the feds swooped in, the account still had $336,000. Brett
Sabado worked out a deal to buy the $330,000 in braces from Burruss and Adams,
paying only $1 or $2 per brace.

99. Sabado informed DR Medical that Melinda and Ron Green were
going to shut down their DMEs. DR Medical was unclear why the Greens were
shuttering their DME operations, since no one from their operation had been
arrested, but the upshot was disastrously clear: the Greens were cancelling all of
their orders for braces.

100. One by one, the companies that Melinda and Ron Green had referred
to DR Medical shuttered their doors or at least cancelled their orders. Some of the

DMEs that had been buying leads were seeing thousands of returns from patients

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who said they did not want the products. These DMEs started using those returns
to fill orders instead of ordering new products through DR Medical.

101. DR Medical was left holding the bag on millions of dollars of
inventory that had been ordered to satisfy customers that had disappeared, been
arrested, or were no longer willing tc operate, apparently because their leads had
been fraudulent.

102. The Greens seized the opportunity to take over the wounded
company. Melinda Green wired $3.5 million to Material Motion and bought DR
Medical for just a few hundred thousand above the value of the inventory that sat
in its warehouse. Melinda and Ron Green now own 51% of DR Medical, and Brett
Sabado owns 49%. A profit of 40% of the cast of each brace is paid to Melinda
Green.

103. After the sale, Material Motion and Steve Schneider bowed out of DR
Medical. The Greens fired Damon Reed, believing their son Brett Sabado could
handle the operations side of the business on Ris own. Rob Tyler was kept on as a
1099 consultant continuing to sel! product directly to his personal book of
business, which is large distributors such as hospitals, Amazon accounts, doctors’

offices, and other non-DME clients.

i, HOW THE FRAUD SCHEME WORKED.
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104, Although Melinda and Ron Green had not been arrested or implicated
in Operation Brace Yourself, they were and are at the epicenter of a nearly-
identical ring. The Greens and Sabado had a euphemism for “kickback”:
“overrides.” Melinda Green, in particular, was the “Kickback Queen” because she
received “overrides” from every direction.

105. Nicco and Andrew Mazza’s crowded office was a call center just like
the offshore one in the Philippines that was cited in Operation Brace Yourself.
While DMEs may be able to legitimately purchase leads that consists of only
names, addresses and telephone numbers, Rormanowski and Mazza were selling
“completed leads” - leads that came complete with prescriptions from doctors who
had never even seen the patients.

106. Romanowski and Mazza stated that Empire Pain got leads from
sources in India. Empire Pain’s sales reps in New Jersey used the lists generated
out of India to cold call Medicare patients, asking whether they had pain and might
qualify for a free back brace.

107. Ones the patient gave his or her Medicare number, the sales rep then
added additional! braces to the order, braces the patient had not requested and did
not need. The Call Center contacted a ieleheaith doctor and got the telehealth

doctor to write a prescription for multiple braces.

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108. For example, a patient who ordered a back brace might also be
scripted for two wrist braces and two knee braces.

109, Empire Pain then informed the DME that it had completed leads for a
certain number of patients. The DME had 24 hours to wire payment, typically $500
- $550 per patient.

110. Empire Pain and the DMEs also ordered braces for people who did
not want any braces at all.

111. Using the information provided by the call center, the DME then
billed Medicare, typically using Ron and Melinda Green’s Billing Companies.

112. Melinda Green, along with her husband Ron, skimmed off kickbacks
in all directions. Nicco Romanowski and Andrew Mazza paid the Greens for
sending them DMEs that would order completed leads from Empire Pain. The
DMEs paid the Greens for referring them to Nicco Romanowski’s and Andrew
Mazza’s lead generating machine. Part of the kickback the Greens took from the
DMEs came in the form of requiring the DMIs to buy the Greens’ billing and pick
pack services -~ and at rates that were far above customary.

113. Atthe same time the Greens were receiving kickbacks, they also were

paying hundreds of thousands of dollars to Romanowski and Mazza for completed
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leads. Melinda Green also said that she was paying another offshore lead source,
but Relator Tyler does not know the name of that company.

114. As the fraud grew to outsized proportions, greed took over. The lead
generation centers started selling the same leads more than once. When the DMEs
realized that they had paid $500 apiece for useless leads, they demanded discounts
on future lead orders from the call centers.

115. Tyler later learned that, unbeknownst to DR Medical, Melinda even
was taking kickbacks from the DMEs for referring them to DR Medical, which had
good rates for its braces.

IV. DEFENDANT BRETT SABADO ADMITS THE FRAUD.

116. After speaking with a Medicare representative at an industry
conference in April 2019, Tyler became suspicious about the scheme. Tyler’s
partners questioned Brett Sabado on a phone call. Central to the discussion was
the burning question: if there was nothing wrong with what Melinda and Ron
Green were doing, why did they suddenly cancel their orders, shutter their DMEs,
and pull up stakes? Why did all of their colleagues do the same thing? More to
home, why was DR Medical left holding millions of dollars in inventory?

Sabado’s answer was nothing short of a confession.

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117. | Sabado explained that some of the DMEs that were cancelling
orders had been using doctors to rubberstamp prescriptions for patients the doctors
had never seen. He tried to distinguish his parents’ actions from this type of fraud:

STEVE SCHNEIDER:

But the, here's the, here's the deal. {f we, but, what your mom was
doing, I mean, she, was knowingly illegal, though, right? Wasn't it? I
mean, isn't that w-w-what the big issue was?

BRETT SABADO:
It's not knowingly illegal, that's, that's, that's incorrect.

STEVE SCHNEIDER:
Oh okay.

BRETT SABADO:
It's uh...

STEVE SCHNEIDER:

So what is it, what is the, what is the story there, I don't know, J don't
remember, because I don't why, why they're even stopping, or
anything like that.

BRETT SABADO:

Yeah, so um, the it's, it all has to do with, um, there were people that
were doing really knowing illegal stuff. Like, they were signing
scripts from doctors that never saw patients, patients that never
wanted braces. I mean that's, that’s actual fraud.

STEVE SCHNEIDER:
Right right.

BRETT SABADG:

Not like, they would get your information, and they would just send
you a brace, and then bill it and you wouldn't even know.

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STEVE SCHNEIDER:

But then, what was, but then what was your mom doing that was like,
sketchy, that you're like, uh they're exposed? I mean like so why
would that not be different from what George would be doing? Like
so wh-, why don't I'm not, I'm trying to figure this out.

BRETT SABADO:
Okay. So, those people that did the really sketchy stuff, it’s all on the
premise that 1 was telemedicine, and it's all Medicare.

STEVE SCHNEIDER:
Right.

BRETT SABADO;
Okay?

STEVE SCHNEIDER:
Mm-hmm (affirmative).

BRETT SABADO:
And, because it’s telemedicine, um, you know the doctor, there's just
different rules than a normal clinic.

STEVE SCHNEIDER:
Right.

BRETT SABADO:

And so, it's very difficull to knew whether the doctor actually spoke to
the patient, it's just hke a lot of weird stuff. But if they actually have a
legitimate doctor, that has a license, and that doctors willing to put
their license on the line, to make a ton of money on the side. 'Cause
thai's what was happening. These doctors are just rubber stamping
these scripts, right?

STEVE SCHNEIDER:
Right.

BRETT SABADO:

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And making shiz-tons on them.

STEVE SCHNEIDER:
Right.

BRETT SABADO:
it's like every script you stamp, you get 100 bucks.

STEVE SCHNEIDER:
Oh.

BRETT SABADO:
90 like if] stamp 50 today, I made five grand today.

il8. Sabado explained that the Call Centers, or “rep groups,” were
paying the doctors who were writing prescriptions for the braces:

STEVE SCHNEIDER:
They're making that money from the rep groups, is that what they're
doing? Fr-from...

BRETT SABADO:
They're making it from the telemedicine company.

STEVE SCHNEIDER:
Got it,

BRETT SABADCO:
Who, who's paid by the rep groups.

STEVE SCHNEIDER:
Got it, okay.

BRETT SABADO:

So, w-what's happening is these rep groups are paying these these
telemedicine companies, but in in in theory, you're like, why would a
rep group pay a doctor to visit with a patient, if, that sounds like a lot

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inducement, you know?

STEVE SCHNEIDER:
Right.

BRETT SABANO;

Um, but in the telemedicine worid, there's 22 states where they're
okay with that because they're not paying the doctor directly, they're
paying a telemedicine company.

STEVE SCHNEIDER:
Okay.

BRETT SABADO:
That employs a bunch of doctors.

STEVE SCHNEIDER:
Okay. Got it.

BRETT SABADO:
But they, they don't know the telemedicine company is encouraging
these doctors to write prescriptions, right?

STEVE SCHNEIDER:
Right.

BRETT SABADS):
Like there's, there's so much muddy water there. Right?

STEVE SCHNEIDER:

Right,

BRETT SABADO:

When they're saying, okay, it's easy for these people to do fraud,
because it's just really easy within that model.

STEVE SCHNEIDER:
Right.

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BRETT SABADO:

And so, all the people that are actually talking to patients, and actually
have reported callings and like are trying to do it right, you can't tell
which is which. Right, you can't, like you look at one guy that's doing
fraud, and it's Medicare Telemed, medicine.

STEVE SCHNEIDER:
Yeah.

BRETT SABADO:

And you look at another person that's doing a great job in some
Medicare telemedicine, and you can't tell the difference, 'cause they
all look the same.

STEVE SCHNEIDER:
Okay.

!19. Sabado then went on to admit that, just hke the wrongdoers he was
describing, his parents a/so were filling prescriptions written by doctors who had
never seen or spoken to the patients:

BRETT SABADO:

So, what I'm trying to say, is my parents, it's not that they did
something wrong, right, it's that, and by the way, th-the thing my
parents are worried about is, you know these patients, who really need

support braces in a box.

STEVE SCHNEIDER:
Right. Th-that, that's what...

BRETT SABADO:
So...

STEVE SCHNEIDER:
That's what [ was trying to figure out, if if they didn't de anything

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wrong then why are they getting out of it? Why don't they just
continue?

BRETT SABADO:

Well 'cause what, you know what Ron is saying is, well there, there's
two reasons. By the way, reason number one is the recorded callings,
the recorded calls didn't have the doctor cn some of them. Right.

STEVE SCHNEIDER:
Uh-huh (Affirmative).

BRETT SABADO:
There was just the marketer. And you can't pass an audit with that.

STEVE SCHNEIDER:
Okay.

BRETT SABADO:

Okay? And so they're like, they they knew that there was some sort of
doctor interaction but some of the Telemeds they were using were not
good, you have half of the calls that are going, have a legit doctor on
the phone, recorded. The other half of the business is coming from,
just a doctor listening to a recording, and saying, "I'm gonna find
medical necessity on this recording. And just make a script."

STEVE SCHNEIDER:
Okay.

120. Sabado explained that the sales reps (at the Cal) Centers that his
parents were paying for leads, and from which his parents were getting kickbacks)
were pushing patients to get braces they did not request or need:

BRETT SABADO
And so, half of their business ts like a little sketchy, you know, and

these, these marketing reps are pushing these patients really hard,
being like, oh vou have pain j in your wrist? Ob, we'll send you a wrist

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121.

brace. If you don't want it, you know...

STEVE SCHNEIDER:
Send it back.

BRETT SABADO:
Send it back.

STEVE SCHNEIDER:
Got it.

BRETT SABADO:

Right? And so they're just sending all these braces, that's why there
was so many that went out for patients, 'cause they're just like if you
don't want it just send it back, we'll just send it to you, try it out, see if
you like it.

STEVE SCHNEIDER:
Gotcha.

BRETT SABADO;:
And the patient only really wanted a back brace, you know.

STEVE SCHNEIDER:
Right. Right.

BRETT SABADO:

And since the doctor wasn't really talking with therm, they were just
listening to the recording, you know it just went out, got scripted. And
so, that's, that’s one thing they're worried about, 1s trying to be able to
pass that.

Sabado also explained that his parents had been doing “highly

questionable” things like taking kickbacks (“overrides”) of as much as $3,000,000

a week on Call Center orders sent to Charles Burruss and Ardalan “Armani”

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Adams, two California DME owners who were indicted as part of Operation Brace

Yourself:

BRETT SABADO:

And since the doctor wasn't really talking with them, they were Just
listening to the recording, you know it just went out, got scripted. And
so, that's, that's one thing they're worried about, is trying to be able to
pass that. Number two is, um, they took overrides on everyone's
business that went to Charles and Armani. So, um, Charles and
Armani, they're stuff, every, on every dollar that was paid to my
parents, all the business that went through Charles and Armani, all of
that is in the feds hands right now.

STEVE SCHNEIDER:
Okay.

BRETT SABADO;:
All. And so. That is gonna be looked at, like crazy,

STEVE SCHNEIDER:
So...

BRETT SABADO:
You know, they're gonna be, fine toath comb.

STEVE SCHNEIDER:
But, is that, is that, so are you not allowed to take an override?

BRETT SABADO:

Not, not the way they did it, no. On Medicare, by the way, on
Medicare, you cannot make a, um, you can't make a percentage, as a
rep. And you can't make a fixed dollar amount, as a rep.

STEVE SCHNEIDER:
Oh.

BRETT SABADO:
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You have to make an amount that has nothing to do with braces.

STEVE SCHNEIDER:
Oh, I see.

BRETT SABADO:
It, right, so how are they getting paid?

STEVE SCHNEIDER:
Yeah.

BRETT SABADO;

Well they're getting, they're getting paid based off of, a dollar amount
per brace. Which is actually, a, a kickback violation, 100 percent, as
clear as day.

STEVE SCHNEIDER:
So that...

BRETT SABADO:

The thing is, the contract they have doesn't say that. So the contract
they have is based on hours. And saying, hey, I will, you know,
Melinda works, you know 40 hours a week on this, and she's going to
make, you know, 806,009 dollars.

STEVE SCHNEIDER:
right,

BRETT SABADO.
right?

STEVE SCHNEIDER:
Right.

BRETT SABADO;
And then, so they just have a, a crazy dollar amount per hour. Let's
say it's ike 10,000 dollars an hour.

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STEVE SCHNEIDER:
Right.

BRETT SABADO:
Does that sound legit at all?

STEVE SCHNEIDER:
Na. (Laughs).

BRETT SABADO:

And then how does, how does, how do you, how do you, how do you
do that when you have sub reps? So now she gets, she makes 800,000,
well it's still wasn't like that, she makes three million dollars this
week. And now she pays out majority of that to someone else. None
of it's W2, right, so it it's freaking...

STEVE SCHNEIDER:
Totally, totally. That, that, so that part was the llega! part that they're
concemed about.

BRETT SABADO:

That, that's the main part they were concerned about. The, the DME
stuff, and what we sent through PRV and E.Z Life, we can defend a
lot of that.

STEVE SCHNEIDER:
Yeah.

BRETT SABADO:
But there's some business there that is, is highly questionable.

STEVE SCHNEIDER:
Yeah. Okay.

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122. Sabado conceded that, tn part, his mother received her kickbacks from
the DMEs by charging an unreasonably high price for the billing services her
company offered:

BRETT SABADO: I'm not, I'm ... Dude, here's the r- here's what,
what sucks about the old format that I always had an issue with is
people pay crazy pricing because they're like, "Oh. We're about to get
all this business." And 30 my mom was closing all of these DMEs at
like, 8% billing.

STEVE SCHNEIDER: Yeah,

BRETT SABADO: Right’ And then-

STEVE SCHNEIDER: Yeah.

BRETT SABADO: .,. And the reason why is she's saying, "I'm going
to give you all the business." Now, when you go to court or you get
in- investigated or something like that, they're going to say, "Why did
you pay 8%? It's above, you know, the normal um, what's usual and
customary,” is what they call it.

STEVE SCHNEIDER: Right.

BRETT SABADO: And you know, they're going to say, "Well, we
were going to get business from her." And dude, it's as clear as day,
right?

STEVE SCHNEIDER: Yeah,
BRETT SABADO:, So I'm tke, you know, we're going to do pricing

that everyone likes, and we're gomy to offer the reps over, and
because the pricing is where it's at and everything's working properly,
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this thing should f- like, blow up, dude, like just fly off and we go
crazy with it.

STEVE SCHNEIDER: Right.
123. Sabado described “Plan A,” a fraud-tree plan to get more business
directly from hospitals. He rued the fact that “plan A” had been put on a back
burner because his mother was busy doing “stupid things”:

BRETT SABADO:

Well here- here's the thing, the- the fact of the matter is this, and this
is like plan B right now only because ... it should be plan A, but
because of time it's plan B. And that's partially why I'm frustrated,
‘cause you know, we had a lot of time to set this up earlier, and we
were so busy doing stupid things that, um ... and growing based off
my mom's plans that I- | couldn't do this.

V. THE $22 MILLION PAYDAY,

124. At the height of the fraud, E.Z Life and PRV were raking in
$1,300,000 a day —- and paying out at least 25% of that in kickbacks for
“marketing” that would net more Medicare patients.

125. But when Operation Brace Yourself became public, the Greens
were concerned that DOJ was hot on the trail of E.Z Life and PRV. They renamed

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—- Sabado euphemiistically called it “rebranded” -— all their companies to try to
throw the feds off the track. For example, the Greens now own a DME called Zee

& Associates, headquartered in Texas.

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126. Because the Greens had supplied patients with braces that they
never needed in the first place, when the Greens abruptly shuttered PRV and E.Z
Life, they were left with large stocks of inventory that had been returned by
patients. For months the Greens dithered about whether to reimburse Medicare for
the returned braces. Brett Sabado noted that his parents would be no better than
ithe indicted Nadia Levit if they just “burned their DMEs” and kept going, without
paying Medicare back for the returned braces that sat in their shop. However, both

rett Sabado and Ronnie Green have confirmed that their parents in fact did not

reimburse Medicare for returned braces. Many returned braces are currently sitting
in the DR Medical warehouse.

127, When Operation Brace Yourself hit the front pages, Melinda and Ron
Green temporarily shut down their fraud ring. But they bragged that they had
amassed $22 million in the bank as a result of their very profitable fraud scheme.

Vi. ADDITIONAL EVIDENCE OF THE FRAUD.

A. “Robocop” Patients.
128. To keep up with demand, Roh Tyler sometimes helped in the
warehouse, packing boxes to ge to patients. He was astonished to see that some

patients were getting multiple braces, sometimes as many as 6 at a time, for back,
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knees, ankles, wrists, and shoulders. Virtually every patient who got a knee brace
also got a back brace.

129. Brett Sabado laughed and made Jokes about the fact that, that with all
these braces on, the patients would look like Robocop.

B. Irate Patients.

130. DR Medical received messages from irate “patients” who claimed
they were receiving braces they never ordered. Some callers were polite, others
cursed; but a common theme ran through the calls. As one caregiver put it, “They
didn't order 'em, they don't want ‘em.”

131. For example, Patient | said: “I'm calling in regards that I'm getting all
this medical stuff for back brace, knee brace, ali this. | don't need none of that, J, |
don't know what, what to do. [ mean, if i sent it back it’s gonna cost me money. So,
could you please call me and let me know what to do with this stuff?”

132. Patient 2 said: “l received in the mail last week a package of about
six, uh, braces, which I did not order and | need to get, uh, authorization to send
them back or do whatever with them.”

133. Patient 3 said: “I’ve received some, um, medical equipment in the
mail that I don't want. | explicitly told thern not to mail it to me and they sent it

anyway.”

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134. Patient 4 said: “I recetved, uh, articles in the mail, ankle braces, back
braces, that I didn't order and I'm, I am not a DME patient. I want to know what's
going on.”

135. Patient 5 said: “I received a package from Holiday Medical Solutions.
And evidently, they're not in business anymore. And ] did not need shoulder
braces. So, I'm wondering should I return ... Can | return them to you?”

136. Patient 6 said: “I’m hearing that it was indeed a scam, but I don’t
know how to go about retuming if.”

137. Patient 7 said: “My mother is demented and hadn’i a clue what she
was speaking with someone on the phone about. And | wish to send this, um,
equipment back, as she does not need it.”

138. Relator Tyler has produced a transcription of these and other phone
calls to the United States in his disclosure statement. These transcriptions are not
attached to this Complaint for privacy reasons,

139. Tyler received as many as 10 of these calls a day, patched through to
his cell phone.

Cc. Che Greens* Portail.

140. For their medical billing business, the Greens hired programmer Kyle

Hendrix to create a porta! that would show mformation such as the patient’s name,

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address, Medicare number, and health information; the name of the sales rep and
the location of the call center where the sales rep was working; and the name and
address of the doctor who wrote the prescription. The Greens use the portal to
manage orders and billing for their own DMEs, as well as for other DMEs that
subscribe to the Greens’ billing service.

141. Tyler did not have regularly access to the portal, but when he
glimpsed it, he noticed that frequently the doctors and the patients were in different
states and often in different regions of the country

VII. THE GREENS DECIDE TO CONTINUE THE FRAUD.

142. After his friends were taken down in Operation Brace Yourself, Brett
Sabado toyed with the idea of playing a straight game, and running the DME
business without fraud. Instead, almost immediately his mother Melinda Green
recruited a new frontman, George Moreira, to ran DMEs. Moreira’s partner
Dominick [last name unknown] owned a pharmaceutical benefits manager
(“PBM”), and George Moreira planned to “stick DMEs under” the PRM.

A. George Moreira and the Greens Continued the Fraud.

143. George Moreira’s business plan was simply to continue doing exactly
what the Greens had been doing: recruiting DMEs, connecting the DMEs to lead

generation centers that would provide them with completed leads, convincing the

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DMESs to use the suite of services that the Greens offered, and taking kickbacks
from all of the above and for all of the above.

144. Sabado was dismayed that George planned to be “100 percent
dependent on the business” —- meaning, the business provided by lead generators.
In the April/May 2019 call, Sabado acknowledged that the only difference he could
see was that now the Greens would have to share the profits with George:

BRETT SABADO:

I talked to these people that they talked to. If they would have just
done a little more due diligence, you know, they, we wouid have a
better idea. You know, and so I get on the phone with George, and I'm
asking him these really pointed questions. And, when I found out that
it was all 100 percent dependent on the business, I said, "George, let
me, let me tell you something man.” I'm like, I said, "Is, if your pitch
is this." And I said, "You walk into, you know a DME and say, I'll
give you two million dollars worth of business, but you're gonna use
all of these things."

BRETT SABARO:

Um, | said, "I can do that man." I said, "I know all the reps. I know all
the business, and that there's a reason | don't do that." There's a,
there's a reason why I'm not like walking through the front door, being
like, it's Medicare Telemed. You either take it and you use everybody
and you pay these obnoxious amounts. But that's his plan. And so I'm
like, so J said, "Let me get ihis straight, George. You have access to
all these DMEs, you only -- his partner, not even him -- owns three of
them.” Okay?

STEVE SCHNEIDER:
Right.

BRETT SABADO:
And see, the, the ones that he's gonna start Is his partner’s, all right,
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145,

which is, I mean, at least we're closer, right? We're, we're a little
closer to the finish line on those ones.

STEVE SCHNEIDER:
Right.

BRETT SABADO:

But, it's like, he goes, I, 1, well he goes, "I just wanna use you guys,
white label it, and then upcharge everybody on your stuff." I went,
"So let me get this straight. All the business you now have is basically
my mom’s business. ‘Cause you don’t have your own. You don't have
any services, right. You don't have y-y, it's our portal, it's our billing,
it's our pick and pack. It's our braces. And you're just gonna mark it
up, right, on a white label?" I'm like, "Dude, I can do that myself. J
can call freaking a million DMEs myself."

STEVE SCHNEIDER:
Yeah.

BRETT SABADO:

Why would I let you mark us up to freaking seven percent and then
we'd lose business, because you're, you don't wanna take a cut on your
own override.

Sabado discussed running a clean operation with Moreira, but as time

would tell, the Greens and Moreira were uninterested,

STEVE SCHNEIDER:

So what does, how, so okay, so now | got that, so then how was
George gonna work and and and, and stil! be okay, and and like,
what's he gonna do different that is gonna allow him to do the the
business?

BRETT SABADO:

Well there's there's um, better ways to do Telemed, and he could
unplement everything in the world that he can, right? And I, I told
him yesterday, a way that I think he should do it.

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STEVE SCHNEIDER:
Okay.

BRETT SABADO:

And I'll, dude it's like a 45 minute call, like dude. 'Cause he doesn't
know, and I'm like, gosh dang it, ike how do you not freaking know
this, you're about to get into this business and do this and like, none of
you freaking know. And so that's why I'm talking to these people that
I, that have the balls to to do it right. And you know, that are
reasonable people and aren't, you know, trying to make too much
money on it.

BRETT SABADO:
They're like, "Hey, listen, we're gonna..." ‘Cause the rep groups are
trying to make as much as they can.

STEVE SCHNEIDER:
Right.

BRETT SABADO:

And they, they're cutting corners. And I'm like, “Listen, I know some
people that won't cut corners. And you know we could actually get
good stuff.”

146, Brett said that he personally wanted to work with legitimate DME’s,
who were not using telemedicine, but added that it was too late, and by now the
group had no choice but to operate fraudulently:

BRETT SABADO:
Right? So, I'm like, 1 don't, | don't really wanna go down that road.

Now, we have to. Right now.

STEVE SCHNEIDER:
Right.

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BRETT SABADO:
Because we don't have another choice, dude.

B. The Greens Rearrange the Deck Chairs on the Ship of Fraud.

147. Just weeks after Operation Brace Yourself, the Green family dove
right back into the cesspool.

148. Hoping to escape the long arm of the law, the Greens relocated
personally, purchasing a $3 million home in Orlando, Florida.

149. But while the location has changed, the fraud remains the same. The
Greens continue to purchase completed leads which they then bill to Medicare.
They also continue to demand and get kickbacks for sending DMEs to call centers
that manufacture leads.

i. “That Would Be Really Stupid,”

150. In the April 2019 phone call, Sabado acknowledged that it would be
risky to keep running the same fraud, and might result in jail time:

STEVE SCHNEIDER:

So with that, with that said, George, you know, quote unquote, doing
it the right way, hopefully, and choesing the rep group. Does he ...
What de you, I mean, h- what does that do for volumes? [ mean, is
that going to be s- like, just the 50 to 100 ub, uh, a week? Or is it
going to be you know, PRV-style volume? Is it, what, | mean, what
does that m- what dees that mean? [ mean, [ don't even know what
that ... like, I'm trying to figure that out.

BRETT SABADO:
... Well um, so let's say you own the DME and, and two weeks ago,

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everyone was going to jail for the business you're about to do.

STEVE SCHNEIDER:
Right.

BRETT SABADO:
Um, a- I mean, how much are you going to put through there?

STEVE SCHNEIDER:
Uh, yeah. Th- I, [ don't know.

BRETT SABADO;
(laughs)

Sabado also admitted that it would be “really stupid” for his mom to

go back to taking kickbacks for sending DMEs to lead generation centers:

BRETT SABADO:

And, what's happening is, a lot of those clients all want business.
Now, I don't actually care where they get the business from. My
mom's saying she doesn’t wanna do that anymore, so she's just
introducing them to the groups. And saying, hey you choose who you
want. You choose how you want to do it, what you want to pay them.
Like, it’s all your choice with them, I'm just giving you the phone call
introduction,

STEVE SCHNEIDER:

Oh, | see, so, she, she's not making any money off the backside
anymore?

BRETT SABADO:
No-

STEVE SCHNEIDER:
Oh, I see, so she's-

BRETT SABADO:
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Right.

STEVE SCHNEIDER:
... She's, she's not making any money off the back side anymore.

BRETT SABADO:;:
No. She's not. Well, she can't, I mean ...

STEVE SCHNEIDER:
Yeah.

BRETT SABADO:
(laughs) She really ought to not to.

STEVE SCHNEIDER:
Right.

BRETT SABADG:
Um ...

STEVE SCHNEIDER:
Oh (laughs) s***, is she still going to ... is she still d- you think she's
still trying to make money?

BRETT SABADO:
Uh, I, I don't think so [erosstalk 00:12:16]. That would be really
stupid.

STEVE SCHNEIDER:

Oh, okay. Got you. 1 was going to that, that'd be crazy. Um, all right.
Se, so a- she's basically just turning these over to the, to the, to the, to
you to... saying, "Hey, call these guys," kind of thing?

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a New Names, Same Fraud.

152. Stupid or not, in fact the family returned to the same fraud plan. They
literally changed the names of the companies —- Sabado euphemistically called it
“rebranding” — and kept going.

153, In April 2019, they shut down business at PRV and E.Z Life, and
shifted their business focus to another DME they owned, Zee and Associates in
Houston, Texas. Zee & Associates, which falls under the NHS Pharma umbrella
set up by the Greens, has experienced astonishing growth. It is obtaining orders
for $600,000 in braces a month, and is set to make $4 million in profit this year.

154, The Greens have now locked down ownership of: (1) the DMEs that
order the braces, including Zee and other DMEs, such as George Moreira’s, that
they control; (2) DR Medical, the manufacturer that supplies the braces; (3) Red
Rock, the pick pack operation that packs and ships them; and (4) the billing
companies that hooks all of those operations together and sends the tab to
Medicare. The Greens also sel! (2), (3) and (4) to other DMEs, like Defendant
Nationwide Prime, which they usher into the family fraud business.

3. The Defendants continue to sell multiple braces to patients
wha do not need them.

155. When orders pile up, Relator Tyler helps pack the boxes for Brett
Sabado’s pick pack. In mid-September, while he was packing boxes, Tyler saw

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that, just as before, most boxes contain multiple braces for a single patient. Relator
Tyler has produced a photo of these boxes to the United States in his disclosure. In

an abundance of caution, this photo is not attached hereto for privacy reasons.

156. For example, Tyler noted the foliowing:

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157, Inthe April 2019

George Moreira to handle the DME busir

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“Nationwide Prime _—~ Patient 8 “Dalzell, SC 6
‘Nationwide Prime —~Patient 9 Palmdale, CA 3
Zee & Associates | Patient 10 Madison, WI ]
Zee & Associates Patient 11 _ Odenton, MD 1
Zee & Associates Patient 12 Dowagiac, MI 1
Zee & Associates  =—Ss- Patient 1300s Crresskili, NJ _ 1
Zee & Associates Patient i4 V alentines, VA. 1
Zee & Associates  —S— Patient 15 Parkville, MD ]
Zee & Associates Patient 16 Aberdeen, MD 4
Zee & Associates —S—— Patient 17 Springfield, MA 4
Zee & Associates Patient 18 Cedar City, UT 5
Zee & Associates Patient 19 Jefferson City, 4
TN
Zee & Associates Patient 20 Youngstown, OH 3
Zee & Associates ~Patient2i 0 Alexandria, VA 3)
Nationwide Prime Patient 22 Portland, OR. 6
Nationwide Prime Patient 23 Raleigh, NC 5
Global DME Solutions Patient 24 Hartsville, SC 6

The Greens Continue ta Do Business with DMEs They Know
Are Buying Leads.

chone call, Sabade admitted that he did not trust
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STEVE SCHNEIDER:
So we, so we don't, so we really have no clue what George is going to
bring to the table and when.

BRETT SABADO:
Yeah. Yeah. Well, I, the, the biggest thing for me ts is I, I don't, [ don't
believe in, I, | don't necessarily believe in George, is my, is my-

STEVE SCHNEIDER:
Okay.

BRETT SABADO:
... End, end all thing. It's like, he's ... I'm, when I'm smarter than the
person on the other side-

STEVE SCHNEIDER:
Yeah.

BRETT SABADO:
.. And [... eyen though J'm the DMEs, right?

STEVE SCHNEIDER:
Yeah. Yeah.

BRETT SABADO:

It's a real problem, Um-

STEVE SCHNEIDER:
Y- Yeah.

BRETT SABADO:
.. Like, all these other DME owners know way more than I do about
owning DMEs.

STEVE SCHNEIDER:
Sure.
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158. Despite Sabado’s misgivings, the Greens and Sabado proceeded to do
brisk and substantial business with George Moreira.

5. Sabado and the Greens Continue to Connect DMEs to Lead
Generation Companies.

159. In the recorded phone call, just weeks after Operation Brace
Yourself, Sabado admitted that he already was connecting DMEs with companies
that were willing to provide completed leads:

STEVE SCHNEIDER:
And, and then, and then, and one of your sales pitches, as I'm

assuming, is, "Hey. I've got some rep groups that I can also put you in
touch with that can uh, help, you know."

BRETT SABADO:
It's not my sales pitch.

STEVE SCHNEIDER:
Noi your sales pitch, but-

BRETT SABADO:
It's not, Like-

STEVE SCHNEIDER:
. But y- you-

BRETT SABADO:

.. And [, [have to s- [have to say, listen um, because you know, they,
they all asked about it. And I said, "Okay, well, you know, if, if you
want that, you know, I can put you in touch with people, but-"

STEVE SCHNEIDER:
... Right. Put you in touch with people. Right.

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BRETT SABADO:
« Um...

STEVE SCHNEIDER:
I got you.

BRETT SABADO:
]- If they ask. Like, right now I'm-

STEVE SCHNEIDER:
If they ask.

BRETT SABADO:
... I'm, I'm wanting people that are self sufficient, you know?

STEVE SCHNEIDER:
Yeah. Right. Right.

160. Melinda Green also was continuing to introduce DMEs to lead
generation centers that would provide completed leads:
STEVE SCHNEIDER:
So the, so she just basically, she's, the rep groups are calling her, and
she's saying, "Hey. Call h- call, call Brett,” kind of thing.
BRETT SABADO:
Yeah. Well, she, yeah, she's saying, you know, well, she's getting on

the phone saying, "These are the DMEs." So I'm telling my mom what
the DMEs are. She knows some of the DMEs herself.

STEVE SCHNEIDER:
Right.

BRETT SABADO:
And she's just introducing them.

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STEVE SCHNEIDER:
Okay.

161. On information and belief, Melinda Green continues to get a kickback
-— which she calls an “override” — for referring the DMEs to the call centers.

6. The Lead Generation Centers Continue to Use Telehealth
Dectors Who Do Not Physically Treat the Patients.

162. In August 2019, after the Greens purchased DR Medical, Tyler and
Sabado were at Red Rock’s offices doing a demo for new customers. To explain
something, Sabado pulled up a screen on the proprietary portal that the Greens
used to manage orders and biiling for the DMUs they serviced. Tyler noticed that
the physicians were not in the same location 2s the patients, and after the demo he
asked Sabado about it. Sabado insisted then, as well as in a group meeting, that the
Greens passed Medicare DME audits “all the time” and also had passed a more
intensive Medicare “probe.”

LEGAL COUNTS

163, On behalf of the United States, Relator Robert Tyler has filed this qui
tam action against Defendants for their knowing acts arid omissions in violation of
the False Claims Act, 31 U.S.C. § 3729, et seg. Relator Tyler alleges that the
Defendants: (a) defrauded the United States, Medicare and Medicare patients

through a fraudulent kickback scheme that placed profit over care; (b) procured
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prescriptions from medical providers who had not examined or even spoken to the
patients for whom they were writing prescriptions; (c) billed Medicare for braces
that were medically unnecessary for the patients to whom they were sent; (d) billed
Medicare for braces that were never requested by patients; (e) failed to reimburse
Medicare for braces that were returned by patients; and/or () provided braces
based on a physician order procured through the payment of kickbacks and bribes.

164. The DMEs, Individual Defendants and Holding Companies submitted
or caused the DMEs to submit enrollment applications to Medicare in which they
falsely certified that they would comply with ali anplicable federal regulations and
laws, including that they would not knowingly present or cause to be presented a
false and fraudulent claim for payment by Medicare and that they would comply
with the federal Anti-Kickback Statute.

165. To become participating providers in Medicare, enrolled DME
companies were required to list the owners anc officers of the DME companies on
Form CMS-855S.

166. To further evade detection and Medicare audits, Defendants concealed
from Medicare their ownership, financial and/or controlling interest in the DME
Companies by using nominee owners and falsely reporting the nominee owners on

the Form CMS8-8355 while omitting they own names.
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167. The DMEs entered info agreements with the Cali Centers to purchase
completed product orders so that the cornpanies could bill Medicare.

168. The Individual Defendants and Holding Companies caused the DMEs
to enter into agreements with the Call Centers to purchase completed product
orders so that the companies could bill Medicare.

169. Defendants Ron and Melinda Green, Brett Sabado, the DMEs, and
Holding Companies paid or caused to be paid illegal kickbacks and bribes to the

“all Centers, including Defendants Empire Pain Center Holdings, LLC, Anthony
Mazza and Nicco Romanowski, in exchange for completed prescriptions with
Medicare-required documents (collectively referred to as "doctors' orders") that
would be used to support claims to Medicare for braces from the DMEs.

170. Defendants Ron and Melinda Green, Brett Sabado, the DMEs, and
Holding Companies agreed to pay and paid, or caused to agree to pay and caused
to pay, a fixed price to Call Centers, including Defendants Empire Pain Center
Holdings, LLC, Anthony Mazza and Nicco Romanowski, for a “lead,” which
actually was a completed order that included a doctor’s prescription.

171. The Call Centers provided the DMEs with "completed leads" and not

"raw leads." The “completed leads” not only contained contact information
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regarding individuals interested in orthotic braces, but also included a physician's
order for orthotic braces for that particular individual.

172. The DME companies received a file transfer from the Call Centers,
including Empire Pain Center Holdings, LLC, that included a physician's
prescription, the Medicare patient's information, and the DME product that was to
be shipped to the patient.

173. Additionally, the Individual Defendants, DMEs, Cail Centers,
Holding Companies, and Pick Pack added, and caused to be added, unnecessary
braces to orders that were already being piaced, and billed Medicare for those
additional, unnecessary braces.

174, The doctors who signed the orders for braces often did so regardless
of medical necessity, in the absence of a pre-existing doctor-patient relationship,
without a physical examination, and frequently based solely on a short telephonic
conversation with the Medicare beneficiary, or even no telephonic conversation
with the Medicare beneficiary. Otten the doctors and the beneficiaries were not
even in the same state or region of the country.

175. Defendants knowingly submitted and caused claims to be submitted to
original fee-for ce Medicare and Medicare Advantage plans for braces that

were procured through the payment of kickbacks and bribes and which were

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medically unnecessary, not requested, not provided as represented, and/or provided
based on a physician order procured through the payment of kickbacks and bribes.

176. The product orders were documented and tracked through the Billing
Companies, using a portal designed, owned and run by the Greens.

177, With full knowledge of the scheme, the Defendant Billing Companies
knowingly submitted and caused claims to be submitted to original fee-for-service
Medicare and to Medicare Advantage plans for braces that were procured through
the payment of kickbacks and bribes and which were medically unnecessary, not
requested, not provided as represented, and/or provided based on a physician order
procured through the payment of kickbacks and bribes.

178. With full knowledge of the scheme, the Defendant Pick Pack
knowingly caused claims to be submitted to onginal fee-for-service Medicare and
to Medicare Advantage plans by filling orders and shipping braces that were
procured through the payment of kickbacks and bribes and which were medically

unnecessary, not requested, not provided as represented, and/or provided based on

179. With full knowledge of the scheme. the Defendant Holding
Companies knowingly submiltted and caused claims to be submitted to original fee-

for-service Medicare and to Medicare Advantage plans for braces procured

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through the payment of kickbacks and bribes and which were medically
unnecessary, not requested, not provided as represented, and/or provided based on
a physician order procured through the payment of kickbacks and bribes.

180. Defendants similarly submitted clatms to original fee-for-service
Medicare and to Medicare Advantage plan sponsors for braces that were procured
through the payment of kickbacks and bribes and which were medically
unnecessary, not requested by a Medicare beneficiary, not provided as represented,
and/or provided based on a physician order procured through the payment of
kickbacks and bribes.

181. To conceal the egal kickbacks and bribes, Defendants created and
entered into sham contracts and documentation that disguised the illegal kickbacks
and bribes as payments for marketing and business process outsourcing, billing,
pick pack, and other services. These payments exceeded the actual value of and
the usual and customary ammount charged for such services.

182. To conceal the illegal kickbacks and bribes, the Call Centers,
including Defendants Empire Pain Center Holdings, LLC, Anthony Mazza and
Nicco Romanowski, created shar contracts and dacumentation that disguised the

illegal kickbacks and bribes as payments to Melinda and Ron Green and others for

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marketing and sales services. These payments exceeded the actual value of and the
usual and customary amount charged for such services.

183. Defendants charged, accepted, and paid, amounts that exceeded the
fair market value for legitimate marketing and business process outsourcing,
billing, pick pack, and other services. Defendants would not have made these
payments if they had not been providing and receiving doctors’ prescriptions for
durable medical equipment items for the DMEs.

184. Over the course of the fraud, the DMEs, Billing Companies and others
billed original fee-for-service Medicare and Medicare Advantage plan sponsors for
DME items purportedly provided as medically necessary to thousands of Medicare
beneficiaries who resided across the United States.

185. The Holding Companies owned, controlled and orchestrated the
actions and violations of the other Defendants, including those actions and
violations described above.

186. Using a proprietary portal designed and built by the Greens, the
Billing Companies controlled and orchestrated the fraudulent billing to Medicare,

as well as the web of kickbacks between the parties.
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COUNT)

VIOLATIONS OF THE FALSE CLAIMS ACT
31 U.S.C. § 3729(ay(D(A)

187. Plaintiffs incorporate by reference and re-allege the previous
paragraphs as if fully set forth herein.

188. This is a claim for treble damages and penalties under the False Claims

i89. Through the schemes, ucts and failures described above, Defendants
and/or their agents violated, and continue to violate, 31 U.S.C. § 3729(a)(1 (A), by
knowingly presenting, or causing to be presented, a false or fraudulent claim for
payment or approval.
190. Asa result of these false claims, the United States has been damaged
and continues to be damaged, in an amount yet to be determined.
COUNT i

VIOLATIONS OF THE FALSE CLAIMS ACT
31 USAC. § S729(a MB)
i9l. Plaintiffs incorporais by reference and re-allege the previous
paragraphs as if fully set forth herein.
192. This is a claim for treble damages and penalties under the False Claims

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Act, 31 U.S.C. § 3729, ef seg.

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193. Through the schemes, acts and failures described above, Defendants
and/or their agents vioiated, and continue to violate, 31 U.S.C. § 3729(a)(1)(B),
because they have knowingly made, used, or caused to be made or used, a false
record or statement material to a false or fraudulent claim.

194. As a result of these false claims, the United States has been damaged
and continues to be damaged, in an amount yet to be determined.

COUNT HI

VIOLATIONS OF THE FALSE CLAIMS ACT
31 U.S.C. § 372% aC)

195, Plaintiffs incorporate by reference and re-allege the previous
oaragraphs as if fully set fourth herein.

196. This is a claim for weble damages and penalties under the False Claims
Act, 31 U.S.C. § 3729, ef seg.

197. Through the schemes, acts and failures described above, Defendants

and/or their agents violated, and continue to violate, 31 U.S.C, § 3729 a) CO), by

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conspiring to commit a violation of subparagraphs (A), (8), (D) or (G).
198. Asa result of these false claims, the United States has been damaged

and continues to be damaged, in an amount yet to be determined.

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COUNTIV

VIOLATIONS OF THE FALSE CLAIMS ACT
31 U.S.C. § 3729{a)Q)(D)

199. Plaintiffs incorporate by reference and re-allege the previous
paragraphs as if fully sez forth herein.

200. This is a claim tor treble damages and penalties under the False Ciaims
Act, 31 U.S.C. § 3729, ef seg,

201. Through the schemes, acts and fillures desoribed above. and
specifically by not reimbursing Medicare for braces that were returned by patients,
Defendants and/or their agents had possession, custody, or control of property or
money used, or to be used, by the Government, and knowingly delivered, or caused
to be delivered, less than all of that money or property, in violation of 31 U.S.C. §
202. Asa result of these false claims, the United States has been damaged

and continues to be damaged, in an amount yet to be determined.

VIOLATIONS OF THE FALSE CLAIMS ACT
31 U.S.C. 8 37B@IIMG)

203. Plaintiffs incorporate by reference and re-allege the previous

paragraphs as if fully set forth herein,
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204. This is a claim for treble damages and penalties under the False Claims
Act, 31 U.S.C. § 3729, ef seg.

205. Through the schemes, acts and failures described above, Defendants
and/or their agents violated, and may continue to violate, 3i O.S.C. § 3729(a}(1}(G),
because they have knowingiy made, used, or caused to be made or used, a false
record or statement material to an obligation to pay or transmit money or property
to the Government, or knowingiy concealed or knowingly and improperly avoided
or decreased an obligation to pay or transmit money or property to the Government.

206. As a result of these false claims, the United States has been damaged
and continues to be damaged, in an amount yet to be determined.

COUNT YI

VIOLATIONS OF THE FALSE CLAIMS ACT
Violations of the Anti-Kickback Statute

207. Plaintiffs imecorporate by reference and re-allege the previous
paragraphs as if fully set forth herein.

208. This is a claim for treble damages and penalties under the False Claims

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Act, 31 U.S.C, § 3729, ef seg.

209. The Defendants knowingly and willfully offered or paid

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remuneration, directly as well as indirectly, and overtly as well gs covertly, to

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persons in order to induce them to refer individuals to the Defendants for the

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furnishing of or arranging for the furnishing of items or services for which
payment may be made in whole or part under a government-funded healthcare
program, in violation of 42 U.S.C. § 1320a~-7b(2)j(A).

210. The Defendants knowingly and willfully offered or paid
remuneration, directly as well as indirectly, and overtly as well as covertly, to
persons in order to induce them to purchase, order, or arrange for or recommend
purchasing or ordering any good, facility, service or item for which payment may
be made in whole or in part under a government-funded heaithcare program, in
violation of 42 U.S.C. § 1320a-7b(2)(B).

2t1. As aresult of the schemes, acts and failures described in this
Complaint, Defendants submitted false and fraudulent statements and claims for
payment for healthcare and heaithcare services that were provided or procured in
violation of the AKS and due to Defendants’ illegal provisions of kickbacks.

212. The Anti-Kickback statute is a critical provision and compliance with
it is a condition of payment, and is material to the government's treatment of claims
for reimbursement. Had the Government known that Defendants were engaging in
fraudulent kickback practices, it would not have provided reimbursement for the
claims submitted in violation thereof, but unaware that the claims were false and

fraudulent, and relying on their accuracy, it paid those claims.
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213. Asaresult of Defendants’ violations of the AKS, Defendants caused
other providers of federally-funded healthcare services to submit false claims for
care and services.

214, Asa result of Defendants’ violations of the AKS, Defendants caused
other providers of federally-funded healthcare services to submit false claims for
care and services.

215. The AKS has 4 very limited set of “safe harbors” for conduct that
could possibly violate the statute, but has been deemed not to; no safe harbor
protects the kind of fraudulent conduct Defendants have exhibited as set forth in
this Complaint.

216. The claims that Defendants submitted in violation of the Anti-
Kickback statute constituted false or fraudulent claims for purposes of the False
Claims Act. See 42 U.S.C. § 1320a-7b(g).

217. In submitting false claims for payment for OME and other
government-funded healthcare services provided and procured in violation of the
AKS, and causing others tc do the same, Defendants knowingly, with reckless
disregard, presented, or caused ta be presented, a false or fraudulent claim for

payment or approval, in violation of 31 U.S.C. § 3729(a)C A).

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218. In making and using faise records and statements material to claims
for payment and reimbursement for DME provided and procured in violation of the
AKS, and causing others to do the same, Defendants knowingly, with reckless
disregard, made, used, or caused to be made or used, a false record or statement
material to a false or fraudulent claim, in violation of 31 U.S.C. § 3729(a)(1)(B).

219. Despite their knowing and willful violations of the AKS, Defendants
demanded and received millions of dollars in DME payments from government-
funded sources, yet took no action to satisfy their obligations to repay or refund
those payments, and instead retained the funds and continued to bill the
Government.

220. As aresult of their violations of the AKS, Defendants had possession,
custody or control over property or money in the form of overpaymenis and
improper payments, that was used, or to be used, by the Government and
knowingly delivered, or caused to be delivered, less than all of that money or
property, in violation of 3] U.S.C. § 3729(ayLD).

221. In making or using false records or staternents material to claims for
payment and reimbursement for DME and other healthcare services provided and
procured in violation of the AKS, and causing others to do the same, Defendants

knowingly, with reckless disregard, made, used, or caused to be made or used, a
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false record or statement material to an obligation to pay or transmit money or
property to the Government, in violation of 31 U.S.C. § 3729(a)(1)(G).

222. In concealing and knowingly and improperly avoiding or decreasing
their obligation to repay government-funded healtheare plans for payments made
for healthcare services provided and procured in violation of the AKS, and causing
others to do the same, Defendants knowingly, with reckless disregard, concealed or
knowingly and improperly avoided or decreased an obligation to pay or transmit
money or property to the Government, in violation of 31 U.S.C. § 3729(a)(1)(G).

223. In violating the AKS, Defendants conspired to commit a violation of
subparagraphs (A), (B), (D), and/or (3), in violation of 31 U.S.C. § 3729(ay1)(C).

224. Defendants’ compliance or lack thereof with the False Claims Act and
the Anti-Kickback statute, and their false claims and certifications about their
compliance or lack thereof, were a condition of payment and were material to the
Government’s decision to pay the Defendants and other medical providers and to
not require reimbursement of those payments, and had a natural tendency to
uence, or were capable of influencing, ibe payment or receipt of money or
property.

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325. As a result of Defendants’ vielations of the False Claims Act and the

Anti-Kickback statute, government-tunded healthcare programs paid the

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defendants and other healthcare providers millions of dollars that should not have
been paid and the defendants retained millions of dollars that they should have

reimbursed to government-fiunded healthcare programs.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respecttully pray and demand the following:
(a) That process issue anid service be made upon Defendants to appear and
answer this Complaint as provided by law;
(b) That judgment be entered in favor of Plaintiffs and against Defendants
on all Counts of the Complaint;
(c) That Plaintiffs be awarded al! damages flowing from Defendants’
wrongful acts;
(dq) That Plaintiffs be awarded three (3) times the amount of damages
sustained by the United States as a result of the wrongful acts of the
Defendants, pursuant to 31 U.S.C. § 3730
{e) That Plaintiffs be awarded a civil penalty of not less than $ 5,500 and

not more than $ 11,000 for each wrongful act by Defendants, pursuant to 31

(f} That Relator Tyler be awarded a portion of all damages, pursuant to 31
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(2) That Relator Tyler be awarded his costs and attorneys’ fees, pursuant
to 31 U.S.C. § 3730, et seq.;

(h) That Plaintiffs be awarded such other and further relief as is justified
by the facts and law and that this Court deems just and proper; and,

(i) That Plaintiffs be granted a trial by jury.

Submitted this 8 day of November, 2019,

THE WALLACE LAW FIRM, L.L.C.

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LEER TARTE WALLACE
Georgia Bar No.: 698320

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

UNITED STATES OF AMERICA, ex rel.
ROBERT JACKSON TYLER, JR., Civil Action File No.

| Plaintiff and Relator/Plaintiff, |
| |

Vv. |

| MELINDA ELIZABETH SABADO FILED UNDER SEAL
GREEN,
et al.,

Defendants. JURY TRIAL DEMANDED

CERTIFICATE OF SERVICE

This is to certify that I have this date served counsel for the United States of
America with a copy of COMPLAINT and RELATOR’S STATEMENT AND
EXHIBITS via U.S. Mail to:

Counsel for the United Siates of America

Neeli Ben-David, Esq.
Assistant United States Attorney
United States Attorney's Office
Richard 8. Russell Federal Building
75 Spring Street, SW ~- Suite 600

Atlanta, GA 30303-3309
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William Barr, Esq.
ffice of the Attorney General
United States Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

This 8" day of November, 2019.
THE WALLACE LAW FIRM, L.L.C.

Je Cite Ctbee

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